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                                     #:46956


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15   Attorneys for Defendants
16                     UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA

18   JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
                                             )
19
             Plaintiffs,                     )   DEFENDANTS’ APPLICATION FOR
20                                           )   LEAVE TO FILE UNDER SEAL
                  v.                         )   PORTIONS OF JUVENILE
21
                                             )   COORDINATOR REPORT
22   MERRICK GARLAND, Attorney               )
     General of the United States; et al.,   )   Hearing Date: Not Set
23
                                             )   Time:
24           Defendants.                     )   Dept:
                                             )
25
                                             )
26                                           )
                                             )
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1          Defendants submit this Application seeking leave from the Court to file under
2    seal portions of the Report from the Juvenile Coordinator from the U.S. Department
3    of Health and Human Services (“HHS”), filed concurrently herewith, pursuant to
4    Federal Rule of Civil Procedure 5.2(d) and Local Rule 79-5. As required by Local
5    Rule 79-5.2.2(a), Defendants submit concurrently with this application the
6    declaration of Fizza Batool, a proposed order, and unredacted copy of the Report.
7    On July 1, 2022, counsel for Defendants contacted counsel for Plaintiffs, Peter Schey
8    and Carlos Holguín, by email regarding Defendants’ proposed filing. On that same
9    day, Mr. Carlos Holguín responded via email stating Plaintiffs had no objection.
10         The materials that Defendants seek to seal are:
11             • Juvenile Coordinator Report of Aurora Miranda-Maese (portions)
12   Defendants seek to seal portions of this document that contain the names and
13   identifying information for ORR care providers because that information could
14   potentially be used to identify individuals who have tested positive for COVID-19,
15   in violation of their individual privacy rights. Given the potentially sensitive nature
16   of the information in these records, there is compelling reason to file them under seal
17   in order to protect the privacy of the individuals identified in these records and to
18   avoid stigma or embarrassment to those individuals.
19                                      ARGUMENT
20         “[T]he courts of this country recognize a general right to inspect and copy

21   public records and documents, including judicial records and documents.” Nixon v.
22   Warner Communications, Inc., 435 U.S. 589, 597 & n.7 (1978); see also Foltz v.

23
     State Farm Mutual Auto Insurance Comp., 331 F.3d 1124, 1134 (9th Cir.2003).

24
     Accordingly, the default rule is that “[a] party seeking to seal a judicial record . . .

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     bears the burden of overcoming this strong presumption [in favor of access to court

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     records] by meeting the ‘compelling reasons’ standard.” Kamakana v. City & Cty.

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1    Of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006). Compelling reasons support
2    sealing these portions of Defendants’ reports because they contain personal
3    information regarding class members, and/or information that might lead the public
4    to identify individuals who have tested positive for COVID-19 in ORR facilities.
5    Courts have recognized individuals’ interest in the protection of such information.
6    See Doe v. Beard, 63 F. Supp. 3d 1159, 1166 n.4 (C.D. Cal. 2014) (collecting cases).
7    Therefore, there is compelling reason to seal these materials to protect the privacy
8    interests of class members and staff at ORR facilities.
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1    DATED:     July 1, 2022           Respectfully submitted,
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3                                      Principal Deputy Assistant Attorney General
4                                      Civil Division

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13                                     /s/ Fizza Batool
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1                              CERTIFICATE OF SERVICE
2
           I hereby certify that on July 1, 2022, I served the foregoing pleading on all
3

4    counsel of record by means of the District Clerk’s CM/ECF electronic filing
5
     system. Documents associated with this filing that are proposed to be filed under
6
     seal will further be served on Plaintiffs’ counsel of record by other means.
7

8
                                                  /s/ Fizza Batool
9
                                                  FIZZA BATOOL
10                                                U.S. Department of Justice
                                                  District Court Section
11
                                                  Office of Immigration Litigation
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                                                  Attorney for Defendants
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